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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION


  HERMAN HICKS,                           )
                                          )
  Petitioner,                             )
                                          )
  vs.                                     )     NO. 2:05-CV-339
                                          )         (2:98-CR-78)
  UNITED STATES OF AMERICA,               )
                                          )
  Respondent.                             )

                             OPINION AND ORDER

        This matter is before the Court on the Motion Under 28 USC § 2255

  to Vacate, Set Aside, or Correct Sentence by a Person in Federal

  Custody, filed by Petitioner, Herman Hicks, on September 6, 2005. For

  the reasons set forth below, this motion is DENIED.               The Clerk is

  ORDERED to DISMISS this case with prejudice.           The Clerk is FURTHER

  ORDERED to distribute a copy of this order to Petitioner, Prisoner No.

  05315-027, at the United States Penitentiary in Pine Knot, Kentucky,

  or to such other more recent address that may be on file for

  Petitioner.



  BACKGROUND

        The facts and procedural posture of the underlying criminal case

  are lengthy, familiar, and set forth in detail in the Seventh

  Circuit’s published opinion, United States v. Hicks, 368 F.3d 801 (7th

  Cir. 2004).     The Court assumes the parties’ familiarity with that
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  opinion and the proceedings of this case.            Relevant here, after a

  second trial, Petitioner, Herman Hicks, was convicted by a jury of

  Count 1, conspiracy to possess with intent to distribute and to

  distribute 50 grams or more of crack cocaine, in violation of Title

  21 U.S.C. section 846; Count 5, possession with intent to distribute

  in excess of 5 grams of crack cocaine, in violation of Title 21 U.S.C.

  section 841(a)(1); and Count 6, possession with intent to distribute

  in excess of 5 grams of crack cocaine, also in violation of Title 21

  U.S.C. section 841(a)(1).

       Subsequently, the Court conducted Petitioner’s sentencing in a

  4-part series. The Court began with an evidentiary hearing on October

  18, 2002. This was followed by a February 21, 2003, hearing where the

  parties   made   their   respective     arguments,    including        sentencing

  objections. On March 14, 2003, the Court made its findings, including

  that Petitioner was responsible for 550 grams of crack cocaine.                The

  Court also noted there were drugs and handguns recovered at the

  location where Hicks was arrested at in 1997.         The Court found it was

  clearly probable that the guns were connected to the offense and,

  therefore, gave a 2-level enhancement pursuant to section 2B1.1(b)(2)

  of the United States Sentencing Guidelines ("U.S.S.G").               Ultimately,

  Hicks’ offense level was 36, criminal history was category 1, which

  resulted in a sentencing range of 188 to 235 months.            Petitioner was

  sentenced to a term of 235 months on each Count, to be served

  concurrently. At the sentencing hearing, the Court orally pronounced


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  Petitioner guilty of Counts 1 and 6, but not 5. As a result, a fourth

  hearing was conducted on March 25, 2003. (See DE # 862). During this

  hearing, the Court acknowledged its previous failure to pronounce

  Petitioner guilty of Count 5.        As such, the Court orally pronounced

  Petitioner guilty of Counts 1, 5 and 6.1         The next day, the written

  judgment and conviction correctly accounted that Petitioner was

  convicted of Counts 1, 5 and 6.

       Hicks appealed to the Seventh Circuit Court of Appeals, which

  affirmed his conviction.      Hicks then filed a timely habeas petition

  pursuant to 28 U.S.C. section 2255.        In the instant petition, Hicks

  argues: (1) that his due process rights were violated by the mandatory

  application of the sentencing guidelines; (2) that the Court erred in

  imposing the 10-year mandatory minimum sentence provided in Title 21

  U.S.C. section 841(b)(1)(A); (3) the drug quantity attributed to Hicks

  via relevant conduct constitutes a miscarriage of justice; (4) the

  Court erred in giving Hicks a 2-level dangerous weapon enhancement;

  (5) that the judgment and conviction contains a clerical error of a

  sentence on Count 5; (6) that the Court erred in sentencing him to a

  concurrent sentence on Count 6; and (7) that his trial counsel was

  ineffective. Each of these contentions will be addressed.




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        The March 25, 2003, hearing has not been transcribed to
  date. In making this finding, the Court relied upon the audio
  tape of the hearing.

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  DISCUSSION

  Habeas Corpus

       Habeas corpus relief under 28 U.S.C. section 2255 is reserved for

  "extraordinary situations."       Prewitt v. United States, 83 F.3d 812,

  816 (7th Cir. 1996).       In order to proceed on a habeas corpus petition

  pursuant to 28 U.S.C. section 2255, a federal prisoner must show that

  the district court sentenced him in violation of the Constitution or

  laws of the United States, or that the sentence was in excess of the

  maximum authorized by law, or is otherwise subject to collateral

  attack.   Id.

       A    section   2255    motion   is     neither   a     substitute       for    nor

  recapitulation of a direct appeal.           Id.; see also Belford v. United

  States, 975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds

  by Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                      As a

  result:

               [T]here are three types of issues that a section
               2255 motion cannot raise: (1) issues that were
               raised on direct appeal, absent a showing of
               changed circumstances; (2) nonconstitutional
               issues that could have been but were not raised
               on direct appeal; and (3) constitutional issues
               that were not raised on direct appeal, unless the
               section 2255 petitioner demonstrates cause for
               the procedural default as well as actual
               prejudice from the failure to appeal.

  Belford, 975 F.2d at 313.         Additionally, aside from demonstrating

  "cause" and "prejudice" from the failure to raise constitutional

  errors on direct appeal, a section 2255 petitioner may alternatively

  pursue such errors after demonstrating that the district court's

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  refusal to consider the claims would lead to a fundamental miscarriage

  of justice.    McCleese v. United States, 75 F.3d 1174, 1177 (7th Cir.

  1996).

       In assessing Petitioner's motion, the Court is mindful of the

  well-settled principle that, when interpreting a pro se petitioner's

  complaint or section 2255 motion, district courts have a "special

  responsibility" to construe such pleadings liberally.           Donald v. Cook

  County Sheriff's Dep't., 95 F.3d 548, 555 (7th Cir. 1996); Estelle v.

  Gamble, 429 U.S. 97, 106 (1976) (a "pro se complaint, 'however

  inartfully pleaded' must be held to 'less stringent standards than

  formal pleadings drafted by lawyers'") (quoting Haines v. Kerner, 404

  U.S. 519 (1972)); Brown v. Roe, 279 F.3d 742, 746 (9th Cir. 2002)

  ("pro se habeas petitioners are to be afforded 'the benefit of any

  doubt'") (quoting Bretz v. Kelman, 773 F.2d 1026, 1027 n.1 (9th Cir.

  1985)).   In other words:

             The mandated liberal construction afforded to pro
             se pleadings "means that if the court can
             reasonably read the pleadings to state a valid
             claim on which the [petitioner] could prevail, it
             should do so despite the [petitioner's] failure
             to cite proper legal authority, his confusion of
             various legal theories, his poor syntax and
             sentence construction, or his unfamiliarity with
             pleading requirements."

  Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

  petition from state court conviction) (alterations in original)

  (quoting Hall    v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).             On

  the other hand, "a district court should not 'assume the role of


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  advocate for the pro se litigant' and may 'not rewrite a petition to

  include claims that were never presented.'"           Id.     Here, the Court

  assessed Petitioner's claims with those guidelines in mind.



  Application of Sentencing Guidelines

       Petitioner contends that the sentencing process– the way the

  Guidelines were utilized– was unconstitutional.                This complaint

  largely surrounds his purported liberty interest in having relevant

  conduct determined by a jury beyond a reasonable doubt, as opposed to

  the Court by a preponderance of the evidence. While declining to take

  this opportunity to write a law review article on the interplay of the

  Guidelines, a judge, and a jury, it is suffice to say that Petitioner

  has forfeited this argument by not raising it, or like arguments, at

  sentencing or on appeal. As set forth above, Petitioner is barred from

  raising constitutional issues in his section 2255 motion that were not

  raised on direct appeal unless he demonstrates either:            (1) both good

  cause for his failure to raise the claims on direct appeal and actual

  prejudice from the failure to raise those claims; and (2) that the

  district court's refusal to consider those claims would lead to a

  fundamental miscarriage of justice. McCleese, 75 F.3d at 1177. Fatal

  to Petitioner's claim is that he does not even begin to meet either

  of these tests.

       Moreover, relevant here and applicable to most of Petitioner’s

  arguments, complaints regarding the application of the Guidelines is


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  not in and of itself grounds for relief under section 2255.               United

  States v. Wilson, 114 Fed. Appx. 757, 759-60 (7th Cir. 2004)(citing

  United States v. Wisch, 275 F.3d 620, 625 (7th Cir. 2001)).



  10-Year Mandatory Minimum

       Hicks next submits that he should not have been subjected to a

  mandatory 10-year minimum sentence on Count 1.           Like the claim that

  proceeded before it, Hicks has failed to raise this argument before

  filing his section 2255 petition.       He has also failed to demonstrate

  either good cause for not raising it or that this Court’s refusal to

  consider the claim would lead to a fundamental miscarriage of justice.

  Nevertheless, as Petitioner received in excess of a 10-year term of

  imprisonment,    the   10-year   mandatory   minimum    was    not    triggered.

  Therefore, this claim is without merit.



  Court’s Determination of Drug Quantity

       Next, Petitioner takes issue with the Court’s finding that he was

  responsible for 550 grams of crack cocaine. Like the claims that came

  before it, Hicks failed to raise this issue before filing his section

  2255 petition. Hicks also failed to demonstrate either good cause for

  not raising it or that this Court’s refusal to consider the claim

  would lead to a fundamental miscarriage of justice.           Moreover, at the

  sentencing hearings the Court went to great lengths to determine and

  explain how it conservatively arrived at Hicks’ attributable drug


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  quantity. Hicks has provided no evidence that the Court’s finding was

  in error.



  Dangerous Weapons Enhancement

         Petitioner argues that the Court erred in enhancing his sentence

  pursuant to section 2D1.1(b)(1) for use of a dangerous weapon. Again,

  however, Hicks failed to raise this issue before filing his section

  2255 petition.    Also again, Hicks also failed to demonstrate either

  good cause for not raising it or that this Court’s refusal to consider

  the claim would lead to a fundamental miscarriage of justice. Despite

  this failure, it is apparent that, for the reasons set forth at the

  March 14, 2003, sentencing hearing, the enhancement was proper.



  Conflict of Oral and Written Judgment

         Petitioner requests the Court "pursuant to Criminal Rule 36,

  correct the judgment insofar as it erroneously reflects that the court

  had adjudged guilty and sentenced petitioner as to count 5." (Pet. p.

  27).   In making this argument, Petitioner relies on the fact that the

  Court did not orally pronounce him guilty of Count 5 during the March

  14 hearing, but the written judgment and conviction pronounced him

  guilty of Count     5.   The Government agrees and joins this request.

  Despite this, what both parties fail to recognize is that the Court

  conducted a March 25 amended sentencing hearing, wherein the Court

  pronounced Petitioner guilty of Counts 1, 5 and 6.                    The written


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  judgment and conviction followed.            As such, this claim is without

  merit.



  235-Month Concurrent Term of Imprisonment
  on Counts 1 and 6

       Hicks claims that the Court violated the Guidelines by imposing

  a concurrent term of imprisonment on Counts 1 and 6.                     This claim

  fails. Aside from Petitioner's erroneous premise, Hicks again failed

  to raise this issue either at sentencing or on appeal.                   Hicks also

  failed to demonstrate either good cause for not raising it or that

  this Court’s refusal to consider the claim would lead to a fundamental

  miscarriage of justice.



  Ineffective Assistance Claims

       Counsel     in   a   criminal   case    must   perform     according    to   the

  standards   of    a   reasonably     competent      attorney.      Strickland      v.

  Washington, 466 U.S. 668, 687-91 (1984).              The test for ineffective

  assistance of counsel under Strickland is exacting.               To successfully

  assert such a claim, a Defendant must show that his attorney's

  representation "fell below an objective standard of reasonableness"

  and that, but for counsel's lapses, "the result of the proceeding

  would have been different."          Porter v. Gramley, 112 F.3d 1308 (7th

  Cir. 1987) (quoting Strickland, 466 U.S. at 688, 694).                      "In sum,

  counsel's errors must result in a proceeding that is 'fundamentally

  unfair or unreliable.'" Kavanagh v. Berge, 73 F.3d 733, 735 (7th Cir.

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 1996) (quoting Lockhart v. Fretwell, 506 U.S. 364, 368 (1993)).                          The

 Strickland    test     is     highly    deferential       to    counsel,         "presuming

 reasonable judgment and declining to second guess strategic choices."

 United States v. Williams, 106 F.3d 1362, 1367 (7th Cir. 1997)

 (citations omitted).          For example, trial strategy is not a viable

 subject for review by this or any other court.                   Williams v. McVicar,

 918 F. Supp. 1226, 1233 (N.D. Ill. 1996).                 Thus, when examining the

 performance prong of the test, a court must "indulg[e] a strong a

 presumption that counsel's conduct falls within the wide range of

 reasonable assistance."          Galowski v. Berge, 78 F.3d 1176, 1180 (7th

 Cir. 1996) (internal quotes omitted).            Similarly, when examining the

 prejudice    prong,     a    court   must   attach    a   "strong       presumption        of

 reliability" to the original verdict.                 Kavanagh, 73 F.3d at 735

 (citation omitted).          Unless a defendant satisfies both parts of the

 test, "it cannot be said that the conviction . . . resulted from a

 breakdown    in   the       adversary    process     that       renders         the   result

 unreliable." United States v. Fish, 34 F.3d 488, 492 (7th Cir. 1994).

 With those principles in mind, the Court will review Petitioner's

 specific claims.

       Petitioner’s first claim centers around his trial counsel’s

 failure to make constitutional objections to the sentencing procedure

 during sentencing.          This claim fails on both the cause and prejudice

 prongs.   To start, trial counsel did make cogent arguments regarding

 the   quantity    of    drugs    and    sentencing    enhancements.               Moreover,


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 Petitioner has failed to show that his trial counsel’s failure to

 raise constitutional challenges is an egregious deficiency that would

 satisfy the cause prong.      Even if his trial counsel had argued that

 the jury, rather than the judge, should have determined drug quantity,

 that argument would have been rejected.           See e.g. United States v.

 Bjorkman, 270 F.3d 482, 492 (7th Cir. 2001).

       Petitioner’s second argument is that his trial counsel was

 ineffective for failing to request a special verdict form to determine

 exactly how much crack cocaine the jury attributed to him.               The jury

 did find that Petitioner was responsible for "50 grams or more" of

 crack cocaine; however, Petitioner claims that the jury should not

 only find the appropriate quantity range, but also the exact quantity.

 This is not the law and was not when Petitioner was sentenced. United

 States v. Tolliver, 454 F.3d 660, 669 (7th Cir. 2006); United States

 v. Smith, 308 F.3d 726 (7th Cir. 2002).          Thus, Petitioner’s counsel

 was not ineffective for not requesting a special verdict form.

       Petitioner’s third complaint is that his trial counsel failed to

 object to the imposed 235-month term of imprisonment, which Petitioner

 claims is higher than the statutory maximum.           This constitutionally

 charged complaint is without merit. Petitioner was found to be guilty

 of possession with intent to distribute in excess of 5 grams of crack

 cocaine. Such a finding exposed Petitioner to a statutory maximum 40-

 year term of imprisonment, Title 21 U.S.C. § 841(b)(1)(B)(iii), which

 is more than Petitioner received.            Thus, contrary to Petitioner’s


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 belief, his sentence on Count 6 did not rise above the statutory

 maximum.     As the premise upon which Petitioner set his ineffective

 claim upon was faulty, it is obvious why his trial counsel did not

 object.     Simply, as this was an ill-fated argument there is no cause

 or prejudice resulting from his trial counsel’s failure to object to

 the imposed 235-month term of imprisonment.

       Fourth, Petitioner, without any direct evidence or argument,

 speculates that "counsel’s failure to apprehend the pivotal nature of

 the concept of ‘reasonable foreseeability’ incapacitated him insofar

 as Petitioner’s relevant conduct objections were concerned."                   (Pet.

 at p. 32)    As Petitioner does not even state the basis upon which his

 counsel     should   have   challenged       the    denial   of    acceptance      of

 responsibility, he has failed to meet the performance prong of

 Strickland.     In addition, upon the Court’s own review of the record,

 it is apparent that counsel’s conduct clearly falls within the range

 of reasonable professional assistance.             Strickland, 466 U.S. at 689.

 Counsel vigorously attacked the reasonable foreseeability with respect

 to drugs attributable to Petitioner.

       Fifth, Petitioner complains about his trial counsel’s failure to

 argue that he was entitled to a minor participant reduction pursuant

 to section 3B1.2.     This section provides for a 2-level reduction in

 offense level when a defendant can establish he was "substantially

 less culpable than the average participant."                 U.S.S.G. § 3B1.2,

 comment, n. 3(A).     Petitioner does not elaborate as to why he feels


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 he was entitled to such a reduction.          Moreover, upon review of the

 record, it is clear that Defendant was not deserving of this reduction

 as he was an active participant in the drug conspiracy.

       Finally, Petitioner faults his appellate counsel for not raising

 the issues he raised in his petition.         The performance of appellate

 counsel is judged using the same standards for determining whether

 trial counsel is ineffective.         See Freeman v. Lane, 962 F.2d 1252,

 1257 (7th Cir. 1992).     Here, the Court has not found any issue raised

 by Petitioner. Thus, Petitioner’s appellate counsel did not cause any

 prejudice by failing to raise them on appeal.



 CONCLUSION

       For the reasons set forth above, this motion is DENIED.                  The

 Clerk is ORDERED to DISMISS this case with prejudice.               The Clerk is

 FURTHER ORDERED to distribute a copy of this order to Petitioner,

 Prisoner No. 05315-027, at the United States Penitentiary in Pine

 Knot, Kentucky, or to such other more recent address that may be on

 file for Petitioner.



 DATED:   October 4, 2006                 /s/RUDY LOZANO, Judge
                                          United States District Court




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